       Case 1:19-cv-03345-VEC-RWL Document 30 Filed 11/02/20 Page 1 of 2

                                                                          USDC SDNY
                                                                          DOCUMENT
                                                                          ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                              DOC #:
SOUTHERN DISTRICT OF NEW YORK                                             DATE FILED: 11/2/2020
 -------------------------------------------------------------- X
 ROBERT W. JOHNSON,                                             :
                                                                :
                                   Plaintiff,                   :
                                                                :
                          -against-                             :   19-CV-3345 (VEC)
                                                                :
 MTA-NEW YORK CITY TRANSIT and MTA                              :       ORDER
 CORPORATE OFFICES,                                             :
                                                                :
                                             Defendants. :
 -------------------------------------------------------------- X
VALERIE CAPRONI, United States District Judge:

        WHEREAS on August 26, 2020, the Court entered an order adopting Magistrate Judge

Lehrburger’s Report and Recommendation granting Defendants’ motion to dismiss (Dkt. 28);

        WHEREAS the Court granted Plaintiff leave to replead his negligence and ADA and

Rehabilitation Act claims;

        WHEREAS the Court ordered Plaintiff to file his amended complaint not later than

September 25, 2020;

        WHEREAS on October 6, 2020, after Plaintiff failed to file an amended complaint, the

Court ordered Plaintiff to show cause no later than October 27, 2020, why this case should not be

dismissed for failure to prosecute; and

        WHEREAS as of the date of this order, Plaintiff has failed to respond or otherwise show

cause why this case should not be dismissed;

        IT IS HEREBY ORDERED that this case is dismissed with prejudice pursuant to Fed. R.

Civ. P. 41(b).




                                                   Page 1 of 2
      Case 1:19-cv-03345-VEC-RWL Document 30 Filed 11/02/20 Page 2 of 2




       The Clerk of Court is respectfully requested to terminate all open motions and close this

case. The Clerk of Court is further requested to mail this order to Plaintiff at the following

address: Robert W. Johnson, 3345 Fish Avenue, Apt. 1, Bronx, NY 10469.



SO ORDERED.
                                                      _________________________________
Date: November 2, 2020                                      VALERIE CAPRONI
      New York, NY                                        United States District Judge




                                            Page 2 of 2
